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                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN
                                 SOUTHERN DIVISION



UNITED STATES OF AMERICA,

               Plaintiff,                                   Case no. 1:20-cr-183

v.                                                          Hon. Robert J. Jonker
                                                            Chief United States District Judge
ADAM DEAN FOX,

               Defendant.
                                     /


      NOTICE OF IMPUTED DISQUALIFICATION, MOTION TO WITHDRAW,
                        AND BRIEF IN SUPPORT

        Undersigned counsel for defendant, Adam Dean Fox, hereby provides notice to this

Honorable Court of imputed disqualification in the continued representation of Mr. Fox by

attorneys Helen Nieuwenhuis and Sean Tilton of the Office of the Federal Public

Defender. This notice is in compliance with Michigan Rule of Professional Conduct

1.10. Absent a finding by the Court, undersigned counsel believes a conflict of interest exists

that requires withdrawal from the case. A hearing in this matter is requested to determine

whether undersigned counsel may continue to represent Mr. Fox.

        The Office of the Federal Public Defender recently offered Attorney Thomas William

Parker Douglas a position as an Assistant Federal Public Defender, which he has accepted.1




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  It is understood that Mr. Douglas will not join the Defender’s Office until any and all conflict
issues with any of his current cases are resolved.
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Attorney Douglas represents one of Mr. Fox’s co-defendant’s, Daniel Joseph Harris. Attorney

Douglas has filed a motion to withdraw from representing Mr. Harris. (ECF No. 153).

       Undersigned counsel believes that hiring Attorney Douglas requires notice to this Court

of imputed disqualification. If undersigned counsel continues to represent Mr. Fox, the Office

of the Federal Public Defender intends to create an ethical firewall to screen Attorney Douglas

from any participation in this case. However, counsel is concerned that even with a firewall,

there could continue to be an appearance of a conflict or an actual conflict of interest. Counsel

also believes that hiring Attorney Douglas increases the likelihood of a conflict arising. This

is true whether Attorney Douglas withdraws or continues to represent Mr. Harris. Assistant

United States Attorney Nils R. Kessler has been advised of the situation and does not believe

that a conflict of interest currently exists. Mr. Fox has also been advised of the situation and

of potential conflicts of interest that could arise if undersigned counsel continues to represent

him. Mr. Fox does not believe there is currently a conflict of interest and wants undersigned

counsel to continue to represent him. Counsel has not yet received all discovery in this case.

Consequently, counsel has been limited to advising Mr. Fox based upon discovery received

and investigation completed to date.

                                             Facts

       Mr. Fox was initially charged on October 6, 2020, by way of a Complaint, charging

him with conspiracy to commit kidnapping. Mr. Fox made his initial appearance on October

8, 2020. At that time, he requested court-appointed counsel. He returned to Court on October

13, 2020, with appointed counsel from the Office of the Federal Public Defender for his

preliminary hearing, with his detention hearing being continued to October 16, 2020.



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Magistrate Judge Sally J. Berens found probable cause and Mr. Fox waived his detention

hearing. Mr. Fox remains in custody.

       An Indictment was filed on December 16, 2020, charging Adam Fox, Barry Croft Jr.,

Ty Garbin, Kaleb Franks, Daniel Harris, and Brandon Caserta with conspiracy to kidnap, along

with a forfeiture allegation. Mr. Fox appeared with counsel and was arraigned on December

17, 2020.

       The final pretrial conference and jury trial dates are currently scheduled for March 10,

2021, and March 23, 2021, respectively. On January 27, 2021, counsel for defendant Brandon

Caserta filed a Motion for Ends of Justice Continuance (ECF No. 145), requesting a

continuance of six months. The parties requested at least six months to prepare for trial

because of the volume of discovery and complexity of the case. Undersigned counsel has not

yet received all of the discovery. Based upon the volume of discovery, counsel anticipates

needing months to review and investigate it.

                                        Brief in Support

       a) Imputed Disqualification

       The Michigan Rules of Professional Conduct require notice to this Court in this

situation. Ms. Nieuwenhuis is licensed in the State of Michigan. Rule 1.10(b) of the Michigan

Rules of Professional Conduct states:

       (b) When a lawyer becomes associated with a firm, the firm may not knowingly
       represent a person in the same or a substantially related matter in which that lawyer, or
       a firm with which the lawyer was associated, is disqualified under Rule 1.9(b), unless:
              (1)     the disqualified lawyer is screened from any participation in the matter
                      and is apportioned no part of the fee therefrom; and
              (2)     written notice is promptly given to the appropriate tribunal to enable it
                      to ascertain compliance with the provisions of this rule.



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Attorney Douglas currently represents co-defendant Mr. Harris, the same matter in which

undersigned counsel represents Mr. Fox. In the absence of a waiver from Mr. Harris, Attorney

Douglas would be prohibited under Rule 1.9(b) from representing Mr. Fox. The Office of the

Federal Public Defender intends to screen Mr. Douglas from any participation in Mr. Fox’s

case.

        Attorney Tilton is licensed in the State of Minnesota. Rule 1.10(b) of the Minnesota

Rules of Professional Conduct states:

        (b)     When a lawyer becomes associated with a firm, and the lawyer is prohibited
        from representing a client pursuant to Rule 1.9(b), other lawyers in the firm may
        represent that client if there is no reasonably apparent risk that confidential information
        of the previously represented client will be used with material adverse effect on that
        client because:
                (1)    any confidential information communicated to the lawyer is unlikely to
                       be significant in the subsequent matter;
                (2)    the lawyer is subject to screening measures adequate to prevent
                       disclosure of the confidential information and to prevent involvement by
                       that lawyer in the representation; and
                (3)    timely and adequate notice of the screening has been provided to all
                       affected clients.

In the absence of a waiver from Mr. Harris, Attorney Douglas would be prohibited under

Minnesota Rule of Professional Conduct 1.9(b) from representing Mr. Fox. The Office of the

Federal Public Defender intends to screen Mr. Douglas from any participation in Mr. Fox’s

case. The Minnesota Rule requires that “any confidential information communicated to the

lawyer is unlikely to be significant in the subsequent matter.” Undersigned counsel is not in a

position to evaluate whether Mr. Harris has provided such information to Attorney Douglas.

In the event that Mr. Harris has provided such information to Attorney Douglas and Mr. Harris

is not willing to waive the conflict in writing, Attorney Tilton will need to withdraw from this

case pursuant to Minnesota Rule of Professional Conduct 1.9.


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       b) Sixth Amendment Right to an Attorney

       In Holloway v. Arkansas, 435 U.S. 475 (1978), the Supreme Court held that “requiring

or permitting a single attorney to represent codefendants” does not per se violate the Sixth

Amendment right to effective assistance of counsel. Id. at 482. However, if the court is alerted

to a possible conflict of interest, the court must take adequate steps to ascertain whether the

conflict warrants separate attorneys. Id. at 484; see also Wheat v. United States, 486 U.S. 153,

159–60 (1988) (citing Cuyler v. Sullivan, 446 U.S. 335 (1980)).

       Holloway reaffirmed that multiple representation does not violate the Sixth
       Amendment unless it gives rise to a conflict of interest. Since a possible conflict inheres
       in almost every instance of multiple representation, a defendant who objects to multiple
       representation must have the opportunity to show that potential conflicts impermissibly
       imperil his right to a fair trial.

Cuyler v. Sullivan, 446 U.S. 335, 348 (1980).

       In Holloway v. Arkansas, 435 U.S. 475 (1978), the Supreme Court stressed that

representing clients with conflicting interests engenders special dangers:

       Joint representation of conflicting interests is suspect because of what it tends to prevent
       the attorney from doing. For example, . . . it may well have precluded defense counsel
       . . . from exploring possible plea negotiations and the possibility of an agreement to
       testify for the prosecution, provided a lesser charge or a favorable sentencing
       recommendation would be acceptable. Generally speaking, a conflict may also prevent
       an attorney from challenging the admission of evidence prejudicial to one client but
       perhaps favorable to another, or from arguing at the sentencing hearing the relative
       involvement and culpability of his clients in order to minimize the culpability of one
       by emphasizing that of another.

Holloway v. Arkansas, 435 U.S. 475, 489–90 (1978); see also Wheat v. United States, 486 U.S.
153, 159-160 (1988) (quoting Holloway).

       The Fifth Circuit indicated that the potential for a conflict of interest is lesser when co-

defendants are represented by different attorneys in the same defender’s office as opposed to

the same attorney or attorneys in private law firms.


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       Typically, the potential for a multiple representation conflict exists when codefendants
       are represented by the same attorney. The potential for such conflicts, however, does
       not necessarily exist when, as in this case, codefendants are represented by different
       attorneys, albeit in the same public defender office. The duty of loyalty runs only to
       that attorney's client; the attorney is in no way being asked to serve two masters.

       Of course, ethical problems may arise, particularly with regard to confidentiality, when
       members of the same public defender office represent codefendants. But such problems
       should be avoidable by strict adherence to the rules of professional responsibility.

United States v. Trevino, 992 F.2d 64, 66 (5th Cir. 1993).

       However, the issue of a potential conflict of interest is not necessarily cured by having

two separate attorneys representing co-defendants. In United States v. Munoz, 23 F App’x 13

(1st Cir. 2001), the Court held the district court had a duty to make inquiry into the Federal

Public Defender’s Office’s representation of co-defendants with allegedly conflicting interests,

even though defendants were represented by different attorneys.

       c) Rules of Professional Conduct

       The Rules of Professional Conduct permit multiple representation of co-defendants as

long as such representation does not give rise to a conflict of interest and all clients consent

after consultation.

       Michigan Rules of Professional Conduct 1.7; Conflict of Interest: General Rule

       (a) A lawyer shall not represent a client if the representation of that client will be
       directly adverse to another client, unless:

               (1) the lawyer reasonably believes the representation will not adversely affect
               the relationship with the other client; and
               (2) each client consents after consultation.

       (b) A lawyer shall not represent a client if the representation of that client may be
       materially limited by the lawyer's responsibilities to another client or to a third person,
       or by the lawyer's own interests, unless:

               (1) the lawyer reasonably believes the representation will not be adversely
               affected; and
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              (2) the client consents after consultation. When representation of multiple
              clients in a single matter is undertaken, the consultation shall include
              explanation of the implications of the common representation and the
              advantages and risks involved.

Mich. R. Prof’l Cond. 1.7.

       Michigan Rules of Professional Conduct 1.10; Imputed Disqualification: General Rule

       (a) While lawyers are associated in a firm, none of them shall knowingly represent a
       client when any one of them practicing alone would be prohibited from doing so by
       Rules 1.7, 1.8(c), 1.9(a), or 2.2.

Mich. R. Prof’l Cond. 1.10.

       ABA Rule 1.7 Conflict of Interest: General Rule

       (a) Except as provided in paragraph (b), a lawyer shall not represent a client if the
       representation involves a concurrent conflict of interest. A concurrent conflict of
       interest exists if:

              (1) the representation of one client will be directly adverse to another client; or
              (2) there is a significant risk that the representation of one or more clients will
              be materially limited by the lawyer's responsibilities to another client, a former
              client or a third person or by a personal interest of the lawyer.

       (b) Notwithstanding the existence of a concurrent conflict of interest under paragraph
       (a), a lawyer may represent a client if:

              (1) the lawyer reasonably believes that the lawyer will be able to provide
              competent and diligent representation to each affected client;
              (2) the representation is not prohibited by law;
              (3) the representation does not involve the assertion of a claim by one client
              against another client represented by the lawyer in the same litigation or other
              proceeding before a tribunal; and
              (4) each affected client gives informed consent, confirmed in writing.

ABA Model R. of Prof’l Cond. 1.7.

       While Michigan Rule of Professional Conduct 1.7 states that an attorney may represent

multiple clients if the attorney reasonably believes the representation will not be adversely

affected, and the client consents after consultation, the commentary nevertheless advises


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against multiple representation in criminal cases: “The potential for conflict of interest in

representing multiple defendants in a criminal case is so grave that ordinarily a lawyer should

decline to represent more than one codefendant.” Mich. R. Prof’l Conduct 1.7 cmt.

                                         Conclusion

       A hearing in this matter is respectfully requested to determine whether undersigned

counsel may continue to represent Mr. Fox.


                                                   Respectfully submitted,

                                                   SHARON A. TUREK
                                                   Federal Public Defender

Dated: February 4, 2021                            /s/ Helen C. Nieuwenhuis
                                                   HELEN C. NIEUWENHUIS
                                                   First Assistant Federal Public Defender

Dated: February 4, 2021                            /s/ Sean R. Tilton
                                                   SEAN R. TILTON
                                                   Assistant Federal Public Defender

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